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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:18-CR-00011                              Recorder: CS 01/31/2018                                Date: 01/31/2018

Present: The Honorable Frederick F. Mumm, U.S. Magistrate Judge

Court Clerk: James R. Munoz, II                                         Assistant U.S. Attorney: Andrew Brown

United States of America v.                Attorney Present for Defendant(s)                Language                  Interpreter
JEFFREY YOHAI                              HILARY POTASHNER
     BOND-PRESENT                               DFPD



PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Information.

Defendant acknowledges receipt of a copy and waives reading thereof.

Waiver of Indictment submitted, accepted by the court and filed.

This case is assigned to the calendar of District Judge Andre Birotte Jr..
Counsel are ordered to contact clerk regarding setting a date for guilty plea.

Counsel are directed to contact the Judge's CRD: Carla Badirian at ( 213 ) 894-2833 regarding the setting of dates for the guilty plea and all
further proceedings.




                                                                                           First Appearance/Appointment of Counsel: 00 : 00
                                                                                                                                 PIA: 00 : 05
                                                                                                     Initials of Deputy Clerk: JRMII by TRB




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